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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF CALIFORNIA
RALPH COLEMAN,

Plaintiff, No. CIV 8-90-0520 LKK JFM P

VS.
ARNOLD SCHWARZENEGGER, et al.,

Defendant. MODIFIED PROTECTIVE ORDER

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In accordance with the order filed concurrently herewith and good cause appearing, IT IS
ORDERED THAT the protective order entered in this case on July 29, 1992 (the "Protective
Order") is hereby modified in the following manner:

IT IS ORDERED THAT the following provisions shall apply to all State of
California Department of Health Services' ("DHS") records which identify any patient or inmate
and which are obtained in this action by counsel for plaintiffs:

1. This order covers all documents and information obtained in this action by
plaintiffs' counsel which identifies a patient or inmate other than the named plaintiffs in this
action,

2. All such documents and information obtained in this action by plaintiffs’
counsel shall be regarded as confidential and subject to this Protective Order. Such material is

hereinafter referred to as "confidential material.”

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3. The confidential material may be disclosed only to the following persons:

a. Counsel of record for plaintiffs in this action;

b. Paralegal, stenographic, clerical and secretarial
personnel employed by counsel of record for plaintiffs;

c. Court personnel and stenographic reporters engaged in
such proceedings that are incidental to preparation for the trial in
this action;

d. Any outside expert or consultant retained by plaintiffs’
counsel for purposes of this action;

e. Witnesses to whom the confidential material may be
disclosed during a deposition taken in this matter or otherwise
during the preparation for trial and trial, provided that the witness
may not leave the deposition with copies of any of the confidential
material, and shall be informed of and agree to be bound by the
terms of this order;

f. Individuals as described in subparts (a) through (e),

above, in Davey v. Gomez, et al. (No. 2:94-cv-00151

WBS-JFM-P), in the United States District Court for the Eastern
District of California, who agree to be bound by the terms of this
Order;

g. Individuals as described in subparts (a) through (e),
above, in Clark, et al. v. California et al. (C96-146 FMS), and in

Armstrong, et al. v. Schwarzenegger, et al. (C94-2307 CW),

currently pending in the United States District Court for the
Northern District of California, who agree to be bound by the terms

of this Order; and

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h. Individuals as described in subparts (a) through (e),

above, in Hecker, et al. v. Schwarzenegger, et al. (No.

2:05-cv-02441 LKK-JFM), currently pending in the United States

District Court for the Eastern District of California, who agree to

be bound by the terms of this Order.

4. Each person to whom disclosure of confidential material is made shall, prior to
the time of disclosure, be provided by the person furnishing such confidential material a copy of
this Order, and shall agree on the record or in writing that they have read this Protective Order
and understand and agree to be bound by its provisions. Such persons must also consent to be
subject to the jurisdiction of the United States District Court for the Eastern District of California
with respect to any proceeding relating to enforcement of this Order, including, without
limitation, any proceeding for contempt. Unless such agreement is made on the record, such as in
court or during a deposition, the person making the disclosure shall retain the original of an
executed written agreement until termination of this litigation, or until otherwise ordered by the
Court. A copy of each such agreement will be furnished to defendants' counsel upon order of the
Court.

5. At the conclusion of the trial and any appeal, or upon other termination of this
litigation, all confidential material obtained by counsel for plaintiffs, and all copies of such
material, in possession of counsel for plaintiffs shall be returned to counsel for the defendants.

6. All confidential material obtained by counsel for plaintiffs shall be used solely
in connection with this litigation or in connection with the following cases:

a. Clark, et al. v. California et al. (C96-146 FMS) or Armstrong, et al. v.

Schwarzenegger, et al. (C94-2307CW), currently pending in the United States

District Court for the Northern District of California;

b. Davey v. Gomez, et al. (No. 2:94-cv-00151 WBS-JFM-P), or Hecker

etal. vy. Schwarzenegger, ct al. (No. 2:05-cv-02441 LKK-JFM), currently pending

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in the United States District Court for the Eastern District of California; or for

related appellate proceedings, and not for any other purpose, including any other

litigation.

7. Any documents filed with the Court that reveal confidential material shall be
filed under seal, labeled with cover sheet bearing the case name and number and the statement:
"This document is subject to a protective order issued by the Court and shall not be copied or
examined except in compliance with that order." Documents so labeled shall be kept by the
Clerk of this Court under seal and shall be made available only to the Court or counsel. Upon
failure of the filing party to so file a document under seal, any party may request that the Court
place the filing under seal.

8. Nothing in this Order shall preclude a party from showing or disclosing to any
person not listed in paragraph 3 of this Order, deposition transcripts, pleadings or briefs
containing confidential material if the document containing such material has been masked or
deleted so that no disclosure of confidential material occurs.

9. With the exception of documents contained in the confidential portions of
patients’ or inmates’ central files, all documents produced under this Protective Order may be
reviewed in a complete and unredacted form. The location of the file review shall be determined
on a case-by-case basis. After such review, plaintiffs’ attorneys may request copies of those
documents they find relevant to their conduct of this litigation.

10. DHS may review the documents in the confidential portions of patients' or
inmates’ central files, and may review the other confidential material produced for initial review
in complete and unredacted form, for the purpose of determining if there is any information
which DHS contends should not further be disclosed because to do so would endanger the safety
and security of an institution, or of any persons, including present or former patients, inmates or
staff. If DHS determines that there are any documents containing such information, DHS may

redact such information prior to providing copies to plaintiffs’ attorneys of the remaining portions

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of the documents and shall properly notify plaintiffs' attorneys of the nature of the redacted
information. If, in the judgment of plaintiffs’ attorneys, such information as has been redacted is
necessary for the conduct of this litigation, such documents will be expeditiously presented to the
Court for in camera review to determine whether and to what extent they must be produced.
Insofar as the court determines that any such information is subject to exclusion from production,
the attorneys for plaintiffs and their legal assistants and consultants shal! not disclose the
information to any person for any purpose.

11. Attorneys for plaintiffs and their legal assistants and consultants shall not
make copies of the confidential material obtained by them except as necessary for purposes of
this litigation. Counsel for plaintiffs will maintain control over all copies obtained by them. All
confidential material obtained by counsel for plaintiffs shall be kept in locked file cabinets. Only
attorneys for plaintiffs and their legal assistants shall have access to these file cabinets or to the
keys to these file cabinets. Counsel for plaintiffs shall maintain a record of all persons to whom
they have afforded access to confidential material. Upon order of the Court, DHS may inspect
the record.

12. Each person who has been afforded access to confidential material shall not
disclose or discuss the confidential material, including the identification, the location, or mental
health status of a patient or inmate, to or with any person except as is necessary to this case, and
then only in accordance with paragraphs 3 and 4 of this Order.

13. Confidential material respecting one patient or inmate shall not be disclosed
to or discussed with any other patient or inmate or former patient or inmate.

14. Plaintiffs’ counsel shall consult with a mental health professional to determine
the necessity of having a mental health professional present at a file review conducted in the
presence of a patient.

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15. Ifa patient, or a class member, or other inmate or parolee, objects in writing
to the disclosure of his or her confidential material, such material may not thereafter be disclosed
unless the patient, inmate or parolee withdraws his or her objection, or the Court so orders.

16. The foregoing provisions of this Order, with the exception of paragraph 7, do
not apply to DHS, its employees or representatives, or its consultants. Nothing in this Protective
Order is intended to prevent officials or employees of the State of California or other authorized
government officials from having access to confidential material to which they would have
access in the normal course of their official duties.

17. The provisions of this Protective Order are without prejudice to the right of
any party: (a) to apply to the Court for a further protective order relating to any confidential
material or relating to discovery in this litigation; (b) to apply to the Court for an order removing
the confidential material designation from any documents; (c) to object to a discovery request;
(d) to apply to the Court for an order compelling production of documents or modification of this
Order or for any order permitting disclosure of confidential material beyond the terms of this
Order.

18. The provisions of this order shall remain in full force and effect until further
order of this Court.

IT IS SO ORDERED.
DATED: January 11, 2007.

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UyereD STATES MAGISTRATE JUDGE

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IN THE UNITED STATES DISTRICT COURTS

FOR THE EASTERN DISTRICT OF CALIFORNIA

AND THE NORTHERN DISTRICT OF CALIFORNIA

UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES

PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE

RALPH COLEMAN, etal.,
Plaintiffs,
V.

ARNOLD SCHWARZENEGGER,
et al.,

Defendants.

MARCIANO PLATA, et al.,
Plaintiffs,
Vv.

ARNOLD SCHWARZENEGGER,
et al.,

Defendants.

NO. CIV S-90-0520 LKK JFM P
THREE-JUDGE COURT

NO. CO01-1351 TEH
THREE-JUDGE COURT

ORDER ON MOTION TO
COMPEL PRODUCTION OF
OFFICE OF INSPECTOR
GENERAL’S UNREDACTED
REPORT

Plaintiffs have filed a motion pursuant to Fed. R. Civ. P. 45(c)(2)(B)(ii) to compel

production of an unredacted report by the non-party Office of the Inspector General (OIG)

concerning the release of Scott Thomas from San Quentin State Prison. The OIG has filed

an opposition to the motion.

At issue is a report sent on October 31, 2007 by the Inspector General to the Secretary

of the California Department of Corrections and Rehabilitation (CDCR) “detailing the results

of the OIG’s investigation into the California State Prison, San Quentin’s release of Scott

Thomas to parole on May 18, 2007.” Plaintiff’s Motion to Compel Production of the Office

of Inspector General’s Unredacted Report Re; Scott Thomas, filed April 18, 2008, at 2, The

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OIG created two versions of the report, one of which redacted information concerning
Thomas’s medical and mental health care while in prison. On April 1, 2008, plaintiffs served
a Rule 45 subpoena on the OIG requesting production of the unredacted report.' On April 7,
2008, the OIG responded to the subpoena in writing, refusing to produce the unredacted
report without a court order. Ex. B to Declaration of Amy Whelan in Support of Plaintiffs’
Motion, filed April 18, 2008. The parties were unable to resolve the dispute informally
through the meet and confer process, and the instant motion followed.

After review of the papers filed in support of and in opposition to the motion, and
good cause appearing, IT IS HEREBY ORDERED that:

1. Plaintiffs’ April 18, 2008 motion to compel is granted;

2. Within five days from the date of this order the Office of the Inspector General
shall produce to plaintiffs’ counsel the unredacted OIG report concerning the release of Scott
Thomas from San Quentin State Prison, subject to the following protective order:

Neither plaintiffs’ counsel nor any employee of any law firm representing
plaintiffs in these proceedings shall disclose or otherwise refer to the unredacted OIG report
concerning the release of Scott Thomas from San Quentin State Prison to any person outside
of said law firms nor shall such information be made part of the record in these proceedings
or any other proceedings without further order of this court or the three-judge court.

Dated: May 23, 2008.

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UyeteD STATES MAGISTRATE JUDGE

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' On November 1, 2007, plaintiffs sent a formal written request for the unredacted
report to the Inspector General, That request was declined.

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IN THE UNITED STATES DISTRICT COURTS

FOR THE EASTERN DISTRICT OF CALIFORNIA

AND THE NORTHERN DISTRICT OF CALIFORNIA

UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES

PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE

RALPH COLEMAN, et al., ) No.: 2: 90cv0520 LKK-JFM P
MARCIANO PLATA et al., ) No, C01-1351 TEH

[PROPOSED ORDER] RE: PLAINTIFFS' REQUEST TO TREAT THE UNREDACTED THOMAS REPORT AS CONFIDENTIAL INFORMATION

(218603-2]

UNDER THE COLEMAN AND PLATA PROTECTIVE ORDERS - Nos. Civ S 90-0520 LKK-JFM, C01-1351 TEH

HELLER, EHRMAN, WHITE & McAULIFFE

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Counsel for plaintiffs, counsel for defendants, and the Office of Inspector
General (“OIG”) participated in a conference call on June 25, 2008 with the
undersigned concerning Plaintiffs’ Request for Leave to Designate the Unredacted
Thomas Report as Confidential Information Under the Coleman and Plata Protective
Orders. Counsel for defendants stated they had no objection to plaintiffs’ request
although they wished to make it clear that they reserved the right to object to the
admission of the report at trial of this matter. Counsel were assured that the
admission of evidence at the trial of this matter was not in the job description of the
undersigned. The Court has considered Plaintiffs’ and the OIG’s joint statement on
this matter, filed June 19, 2008.

Good cause appearing, IT IS HEREBY ORDERED THAT:

The Office of Inspector General’s unredacted Scott Thomas report shall be
subject to the Coleman and Plata protective orders, and Plaintiffs may utilize the
Thomas Report during the pretrial process in the same manner and under the same

procedures as they do other confidential materials in these cases.

Dated: June 26, 2008. /s/John F. MouldsUnited States
Magistrate Judge

(218603-2]
-2-
ORDER RE: PLAINTIFFS’ REQUEST TO TREAT THE UNREDACTED THOMAS REPORT AS CONFIDENTIAL INFORMATION UNDER
THE COLEMAN AND PLATA PROTECTIVE ORDERS - Nos. Civ S 90-0520 LKK-JFM, C01-1351 TEH
